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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS


 LARRY GOLDEN,

                Plaintiff,
                                                          No. 23-811 C
           v.
                                                          Judge Matthew H. Solomson
 THE UNITED STATES,

                Defendant.



                                NOTICE OF APPEARANCE

To the Clerk:

       Please enter the appearance of Grant D. Johnson as attorney of record for the United States.

Service of all papers by mail through the United States Postal Service should be addressed as

follows:

                                     Grant D. Johnson
                                       Trial Attorney
                                 Commercial Litigation Branch
                                       Civil Division
                                    Department of Justice
                                   Washington, DC 20530

Service of all papers by other methods, such as Federal Express and messenger, should be

addressed as follows:

                                      Grant D. Johnson
                                        Trial Attorney
                                 Commercial Litigation Branch
                                        Civil Division
                                    Department of Justice
                                1100 L Street, NW, Room 8002
                                   Washington, DC 20005
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                           Respectfully submitted,

                           BRIAN M. BOYNTON
                           Principal Deputy Assistant Attorney General

                           GARY L. HAUSKEN
                           Director

                           /s/ Grant D. Johnson
                           GRANT D. JOHNSON
                           Trial Attorney
                           Commercial Litigation Branch
                           Civil Division
                           Department of Justice
                           Washington, DC 20530
                           Grant.D.Johnson@usdoj.gov
                           (202) 305-2513

                           COUNSEL FOR THE DEFENDANT,
                           THE UNITED STATES

                           June 12, 2023
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                                CERTIFICATE OF SERVICE

       I hereby certify that a true copy of the foregoing “Notice of Appearance” was sent on

June 12, 2023 via First Class Mail and e-mail to:

                                         Larry Golden
                                   740 Woodruff Road #1102
                                     Greenville, SC 29607
                                     atpg-tech@charter.net
                                        Plaintiff, pro se

                                                           /s/ Grant D. Johnson
                                                           Grant D. Johnson
                                                           Department of Justice
